                          Case 3:22-cv-05188-TLT Document 36 Filed 02/03/23 Page 1 of 4




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                 5
                     Attorneys for Defendant PENNSYLVANIA HIGHER
                 6 EDUCATION ASSISTANCE AGENCY dba AES

                 7 (erroneously sued as “AES/Suntrust Bank”)

                 8

                 9                                   UNITED STATES DISTRICT COURT
             10
                            NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
             11

             12 Jesus Cerda,                                         Case No. 3:22-cv-05188-TLT
             13
                                         Plaintiff,                  Hon. Trina L. Thompson, Courtroom 9
             14
                                 vs.                                 DEFENDANT PENNSYLVANIA
             15
                                                                     HIGHER EDUCATION
             16 ALLY FINANCIAL; CAPITAL ONE                          ASSISTANCE AGENCY’S REPLY
                     BANK USA NA; COMENITY BANK                      RE NON-OPPOSITION IN
             17
                     EXPRESS; CREDIT ONE BANK NA;                    SUPPORT OF MOTION TO
             18      DISCOVER BIN SVCS LLC; ISAC;                    DISMISS
                     MACYS/DSNB; SYNBC/CARE
             19
                     CREDIT; ABILITY RECOVERY
             20      SERVICES; CONVERGENT                            Date:     April 18, 2023
                     OUTSOURCING; COMCAST;                           Time:     2:00 p.m.
             21
                     JEFFERSON CAPITAL SYST;                         Crtrm.:   9
             22      AES/SUNTRUST BANK; ILL
                     STUDENT ASST. CO; EXPERIAN;
             23
                     TRANS UNION LLC; EQUIFAX;
             24      DOES 1-10,
             25
                                         Defendants.
             26

             27

             28
MUSICK, PEELER       2087267.1                                                       Case No. 3:22-cv-05188-TLT
& GARRETT LLP
                          DEFENDANT PENNSYLVANIA HIGHER EDUCATION ASSISTANCE AGENCY’S REPLY RE NON-
                                          OPPOSITION IN SUPPORT OF MOTION TO DISMISS
                          Case 3:22-cv-05188-TLT Document 36 Filed 02/03/23 Page 2 of 4




                 1               Defendant Pennsylvania Higher Education Assistance Agency (“PHEAA”)
                 2 filed its Motion to Dismiss on January 17, 2023. Plaintiff’s opposition was due on

                 3 January 31, 2023. To date, PHEAA has received no opposition to its Motion nor

                 4 any notice from the Court that an opposition was filed.

                 5               PHEAA therefore requests that the Court grant its Motion to Dismiss with
                 6 prejudice.

                 7

                 8 DATED: February 3, 2023                   MUSICK, PEELER & GARRETT LLP
                 9
             10

             11                                              By:
                                                                   Donald E. Bradley
             12                                                    Attorneys for Defendant
             13                                                    PENNSYLVANIA HIGHER
                                                                   EDUCATION ASSISTANCE AGENCY
             14                                                    dba AES (erroneously sued as “AES/
             15                                                    Suntrust Bank”)
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MUSICK, PEELER       2087267.1                                1                      Case No. 3:22-cv-05188-TLT
& GARRETT LLP
                          DEFENDANT PENNSYLVANIA HIGHER EDUCATION ASSISTANCE AGENCY’S REPLY RE NON-
                                          OPPOSITION IN SUPPORT OF MOTION TO DISMISS
                          Case 3:22-cv-05188-TLT Document 36 Filed 02/03/23 Page 3 of 4




                 1                                        PROOF OF SERVICE
                 2
                     STATE OF CALIFORNIA, COUNTY OF ORANGE
                 3

                 4      At the time of service, I was over 18 years of age and not a party to this action. I
                   am employed in the County of Orange, State of California. My business address is 650
                 5 Town Center Drive, Suite 1200, Costa Mesa, CA 92626-1925.

                 6
                                 On February 3, 2023, I served true copies of the following document(s) described
                 7 as DEFENDANT PENNSYLVANIA HIGHER EDUCATION ASSISTANCE

                 8 AGENCY’S REPLY RE NON-OPPOSITION IN SUPPORT OF MOTION TO
                     DISMISS on the interested parties in this action as follows:
                 9
             10                                    SEE ATTACHED SERVICE LIST

             11                 BY MAIL: I enclosed the document(s) in a sealed envelope or package
             12                  addressed to the persons at the addresses listed in the Service List and placed the
                                 envelope for collection and mailing, following our ordinary business practices. I
             13                  am readily familiar with the practice of Musick, Peeler & Garrett LLP for
             14                  collecting and processing correspondence for mailing. On the same day that
                                 correspondence is placed for collection and mailing, it is deposited in the
             15                  ordinary course of business with the United States Postal Service, in a sealed
             16                  envelope with postage fully prepaid. I am a resident or employed in the county
                                 where the mailing occurred. The envelope was placed in the mail at Costa Mesa,
             17                  California.
             18
                                BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
             19                  the document(s) with the Clerk of the Court by using the CM/ECF system.
             20                  Participants in the case who are registered CM/ECF users will be served by the
                                 CM/ECF system. Participants in the case who are not registered CM/ECF users
             21                  will be served by mail or by other means permitted by the court rules.
             22
                                 I declare under penalty of perjury under the laws of the United States of America
             23 that the foregoing is true and correct and that I am employed in the office of a member

             24 of the bar of this Court at whose direction the service was made.

             25                  Executed on February 3, 2023, at Costa Mesa, California.
             26

             27
                                                                       April Yusay
             28
MUSICK, PEELER       2087267.1                                1                      Case No. 3:22-cv-05188-TLT
& GARRETT LLP
                          DEFENDANT PENNSYLVANIA HIGHER EDUCATION ASSISTANCE AGENCY’S REPLY RE NON-
                                          OPPOSITION IN SUPPORT OF MOTION TO DISMISS
                          Case 3:22-cv-05188-TLT Document 36 Filed 02/03/23 Page 4 of 4




                 1                                       SERVICE LIST
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                                                                   Inc.
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             23
                     Capital Systems, LLC
             24

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MUSICK, PEELER       2087267.1                                2                      Case No. 3:22-cv-05188-TLT
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                          DEFENDANT PENNSYLVANIA HIGHER EDUCATION ASSISTANCE AGENCY’S REPLY RE NON-
                                          OPPOSITION IN SUPPORT OF MOTION TO DISMISS
